                                                                                           Case 2:23-cv-01957-GMN-NJK Document 8 Filed 04/10/24 Page 1 of 1



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                                                                                      5
                                                                                                                      UNITED STATES DISTRICT COURT
                                                                                      6                                FOR THE DISTRICT OF NEVADA
                                                                                                                           LAS VEGAS DIVISION
                                                                                      7
                                                                                           WILLIAM EDDINS, an individual,                   ) CASE No.:   2:23-CV-01957
                                                                                      8                                                     )
                                                                                                     Plaintiff,                             )
                                                                                      9                                                     )
                                                                                           vs.                                              )
                                                                                                                                            )
                                                                                     10    PLAZA DEL RIO, LLC, a limited liability          ) NOTICE OF VOLUNTARY DISMISSAL
                                                                                           company, DOE INDIVIDUALS 1-20, and               )           WITH PREJUDICE
                                                                                     11    ROE CORPORATIONS 21-40.                          )
                                                                                                                                            )
                                                                                                                                            )
                                                                                     12               Defendants.                           )
                                                                                                                                            )
                                                                                     13                                                     1
                                                                                                  Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i), Plaintiff WILLIAM
                                                                                     14
                                                                                           EDDINS hereby gives notice that this action is voluntarily dismissed with prejudice. Defendant
                                                                                     15
                                                                                           PLAZA DEL RIO, LLC, a limited liability company, has not served an answer or motion for
                                                                                     16
                                                                                           summary judgment in this action. Each party shall bear their own attorneys' fees and costs.
                                                                                     17

                                                                                     18
                                                                                                         DATED this     ( f0    day of April, 2024.

                                                                                                                                         DAVID SALMON & ASSOCIATES, INC.
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                                                                                     22                                                  Las Vegas, NV 89130
                                                                                                                                         Attorneysfor Plaintiff William Eddins
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                                                                                                                                             -1-
                                                                                                                                Notice of Voluntary Dismissal
